SO ORDERED.

SIGNED this 29th day of July, 2020.




____________________________________________________________________________




                 IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF KANSAS

In re:                                 §          Case No. 19-10065
                                       §
PARIS EDWARD THOMAS LOYLE and          §          Chapter 7
                                       §
KATHERINE CHRISTINE LOYLE,             §
                                       §
            Debtors.                   §
                                       §
_______________________________________§
PARIS EDWARD THOMAS LOYLE              §
KATHERINE CHRISTINE LOYLE,             §
                                       §          Adv. No. 20-05073
                                       §
            Plaintiffs,                §
                                       §
      v.                               §
                                       §
UNITED STATES DEPARTMENT OF§
EDUCATION, NAVIENT SOLUTIONS LLC,§
                                       §
EDUCATIONAL CREDIT MANAGEMENT§
CORPORATION, FEDLOAN SERVICING,§
EDUCATIONAL COMPUTER SYSTEMS,§
INC., R3 EDUCATION INC., FIRTMARK§
SERVICES, CITIZENS ONE, TAB BANK, and§
AMERICAN EDUCATION SERVICES,           §
                                       §
                                       §
            Defendants.                §
_______________________________________§



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  AGREED JUDGMENT ORDER AS TO R3 EDUCATION INC AND EDUCATIONAL
                    COMPUTER SYSTEMS INC

        Upon consideration of the complaint filed by Plaintiffs Paris Edward Thomas Loyle and

Katherine Christine Loyle (collectively, the “Debtors” or the “Loyles”) in the above-captioned

adversary proceeding against the above-captioned defendants (collectively, the “Defendants”);

the Defendants R3 Education, Inc. (“R3”) and Educational Computer Systems, Inc. (“ECSI”)

having chosen not to contest the relief sought in the complaint as to the R3 loan; the Court

having reviewed the complaint; it appearing that proper and timely notice has been given and

that no other or further notice need be given; and after due deliberation and sufficient cause

appearing therefore,

         THE COURT HEREBY FINDS THAT:

        A.      In this Agreed Judgment Order, each of the Debtors, R3, and ECSI is a “Party”

and collectively constitute the “Parties.”

        B.      On May 12, 2020, the Plaintiffs filed a complaint (the “Complaint”) to determine

the dischargeability of certain student loans. See Dkt. 1.

        C.      On March 24, 2010, R3 loaned Debtor Paris Edward Thomas Loyle the amount

$10,000. The current principal remaining on the loan is $8,603.07. See Compl., ¶¶ 23, 44.

        D.      ECSI serviced the R3 loan.

        E.      By their Complaint, the Debtors seek to discharge R3’s loan, among other loans,

on the basis that excepting such loans from discharge would constitute an “undue hardship.”

Compl., ¶ 51.

        F.       Without any admission of fault or liability, Defendants R3 and ECSI have

chosen not to contest the relief sought by the Debtors in the Complaint as to the R3 loan, subject

                                                   2

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to the following terms and conditions, and the Parties have stipulated and agreed to the entry of

this Agreed Judgment Order.

        IT IS ORDERED AND JUDGMENT IS ENTERED AS FOLLOWS:

        1.      The relief sought by the Complaint is granted solely with respect to the R3 loan,

subject to the terms and conditions set forth herein.

        2.      The R3 loan is hereby deemed subject to the discharge granted to the Debtors by

the Court pursuant to 11 U.S.C. § 727 on April 22, 2019.

        3.      Except with respect to R3’s and ECSI’s obligations under this Agreed Judgment

Order, the Debtors release and forever discharge R3 and ECSI and each of their successors and

assigns, and their respective past, present and former shareholders, members, equity holders,

affiliates, subsidiaries, divisions, predecessors, directors, officers, attorneys, employees, agents

and other representatives, of and from any and all losses, costs, claims, actions, lawsuits,

administrative claims, arbitration claims, causes of action, demands, damages, obligations,

expenses or liabilities of any type whatsoever, in law or in equity, imposed by contract, statute,

common law or otherwise, whether or not known now, anticipated or unanticipated, suspected or

claimed, fixed or contingent, direct or indirect, liquidated or unliquidated, accrued or unaccrued,

irrespective of legal theory, including any claim or theory of strict liability or arising from any

negligent, grossly negligent, willful, intentional or any other acts or omissions, and whether

damage has resulted from such or not (collectively, “Claims”), arising from or relating to the R3

loan.

        4.      Except with respect to the discharge of the R3 loan, nothing herein shall have any

res judicata or preclusive effect on any proceeding or litigation initiated in any other court as to

the R3 loan, or relating to or otherwise implicating the facts and law at issue in such a claim.
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Without limiting the foregoing, the Debtors, R3, and ECSI each understands and agrees that this

Agreed Judgment Order and the settlement provided for herein, are intended to compromise

disputed claims and defenses, to avoid litigation and to buy peace, and that this Agreed Judgment

Order and the settlement provided for herein shall not be construed or viewed as an admission by

any Party of liability or wrongdoing, such liability being expressly denied, and shall not be

construed or viewed as an admission by any Party of any of the allegations set forth in the

Complaint. This Agreed Judgment Order, and the settlement provided for herein, shall not be

admissible in any lawsuit, administrative action, or any judicial or administrative proceeding if

offered to show, demonstrate, evidence or support a contention that any of the Parties acted

illegally, improperly, or in breach of law, contract or proper conduct.

        5.      The provisions of this Agreed Judgment Order and the settlement provided for

herein are for the sole benefit of the Parties and their successors and permitted assigns, and they

will not be construed as conferring any rights to any third party (including any third party

beneficiary rights).

        6.      This order shall be binding on the chapter 7 trustee, the Debtors and their estates,

including any subsequent chapter 7 or chapter 11 trustee, or any other type of trustee thereafter

appointed in the Debtors’ bankruptcy cases.

        7.      This order shall be immediately effective and enforceable upon its entry,

notwithstanding any provision in the Federal Rules of Bankruptcy Procedure or the Local

Bankruptcy Rules to the contrary.

        8.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Agreed Judgment Order.

        9.      The Debtors, R3, and ECSI consent to the entry of this Agreed Judgment Order.
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                                         IT IS SO ORDERED

                                                   ###

IN WITNESS WHEREOF, the Parties execute this Stipulation.

Dated: July 27, 2020


/s/January M. Bailey
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                                                        ______________________________
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                                                        Inc. and R3 Education, Inc.




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Page 7 construed or viewed as an admission by any Party of any           f the allegations set forth in the
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       Dated: July _, 2020




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